
82 So.3d 185 (2012)
Anthony L. WILLIAMS, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-6326.
District Court of Appeal of Florida, First District.
March 12, 2012.
Anthony L. Williams, pro se, Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant's appeal is hereby dismissed as duplicative to the appeal proceeding in case 10-5288. The denial of the appellant's rule 3.800(b)(2) motion will be reviewed in that case.
DISMISSED.
VAN NORTWICK, THOMAS, and ROBERTS, JJ., concur.
